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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT TACOMA

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        STATE OF WASHINGTON,                                   CASE NO. 17-5806 RJB
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                                                               ORDER DENYING THE GEO
11                                                             GROUP, INC.’S MOTION TO
                                     Plaintiff,                DETERMINE LIMITATION
12               v.                                            PERIOD FOR STATE’S MINIMUM
                                                               WAGE CLAIM AND/OR LIMIT
13      THE GEO GROUP, INC.,                                   SCOPE OF PHASE ONE
                                                               EVIDENCE
14

15                                   Defendant.

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            This matter comes before the Court on the above-referenced motion (Dkt. 456). The
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     Court is fully advised and has read and considered all filings in support of and in opposition to
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     the motion. For the following reasons, the motion should be denied:
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            1.        Insofar as the motion is a motion in limine, it is untimely (see Dkt 354).
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            2.        Insofar as the motion is a motion for reconsideration, it is untimely. Western
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     District of Washington Local Civil Rule 7(h).
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     ORDER -
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 1          3.      There is no statute of limitations covering the State’s claims in this case. See Dkt.

 2   No. 44 at 9. The State’s claims are not directed at the detainees’ losses, if any, but at GEO’s

 3   unjust gains, if any, arising from the Minimum Wage Act issues.

 4          4.      Exhibits dated before September 2014 may be admissible, but all exhibits must be

 5   relevant to the phase of the cases at trial, and admissible under the Federal Rules of Evidence.

 6   No wholesale rule or presumption of inadmissibility, or conditional exclusion of unknown and

 7   unspecified exhibits is appropriate.

 8          IT IS SO ORDERED.

 9          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

10   to any party appearing pro se at said party’s last known address.

11          Dated this 26th day of May, 2021.

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13                                          A
                                            ROBERT J. BRYAN
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                                            United States District Judge
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     ORDER -
